                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:12 CR 20-5


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
KEITH ARTHUR VINSON.                          )
                                              )
____________________________________          )


         THIS MATTER came before the undersigned pursuant to a Motion for

Travel Authorization (#243) filed by counsel for Defendant.           In the motion,

Defendant’s counsel requests that the Court “order issuance of travel authorization

so as to allow counsel to obtain lodging without having to pay for same in advance

and await reimbursement at some uncertain date in the future”. The motion does

not cite the Court to any authority which would authorize the issuance of such an

order.

         The undersigned has examined The Guide to Judiciary Policies and

Procedures and it appears that two rules may apply to the request of Defendant’s

counsel. Vol. 7, Part A, Chapter 2 § 230.63.40 provides:

         (a) Travel by privately owned automobile should be claimed at the
         mileage rate currently prescribed for federal judiciary employees who
         use a private automobile for conduct of official business. Parking
         fees, ferry fares, and bridge, road, and tunnel tolls may also be
         claimed. Transportation other than by privately owned automobile
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      should be claimed on an actual expense basis.

      (b) Per diem in lieu of subsistence is not allowable, since the CJA
      provides for reimbursement of expenses actually incurred. Therefore,
      counsel’s expenses for meals and lodging incurred in the
      representation of the defendant would constitute reimbursable “out-of-
      pocket” expenses.

      (c) In determining whether actual expenses incurred are
      “reasonable,” counsel should be guided by the prevailing limitations
      placed upon travel and subsistence expenses of federal judiciary
      employees in accordance with existing government travel regulations.

      (d) Government travel rates at substantial reductions from ordinary
      commercial rates may be available from common carriers for travel
      authorized by the court in connection with representation under the
      CJA. To obtain such rates, attorneys must contact the clerk of the
      court and obtain prior approval from the presiding judicial officer.

      § 230.63.50 Interim Reimbursement for Expenses provides:

      (a) Where it is considered necessary and appropriate in a specific
      case, the presiding judge or U.S. magistrate judge may, in consultation
      with the AO Office of Defender Services, arrange for interim
      reimbursement to counsel of extraordinary and substantial expenses
      incurred in providing representation in a case.

      (b) Interim reimbursement should be authorized when counsel’s
      reasonably-incurred out-of-pocket expenses for duplication of
      discovery materials made available by the prosecution exceed $500.

      The undersigned has considered Defendant’s motion as being a request

under § 230.63.40(d) that he be allowed to obtain the “Government travel rate”

from an appropriate hotel or motel in the Asheville area. The Court will grant that

request. However, the undersigned cannot issue an order allowing Defendant’s

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counsel to obtain lodging without having to pay for the lodging and await

reimbursement. Defendant’s counsel is instructed to consult § 230.63.50 regarding

interim reimbursement for his travel expenses and other provisions of The Guide to

Judiciary Policy, specifically Volume 7, as they relate to defender’s services.

                                      ORDER

      IT IS, THEREFORE, ORDERED that Defendant’s counsel is hereby

GRANTED approval to obtain the Government rate of travel for hotel or motel

expenses incurred during the trial of the above entitled matter, pursuant to Vol 7 of

The Guide to Judiciary Policy, Part A, Chapter 2, § 230.63.40(d). The remainder

of the Motion for Travel Authorization (#243) is DENIED.



                                                      Signed: September 23, 2013




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